                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE WESTERN DISTRICT OF VIRGINIA
                                             ABINGDON DIVISION
  
 UNITED STATES OF AMERICA,                                          )
                                                                    )
                                         Plaintiff,                 )   Case No. 1:18CV00027
                                                                    )
 v.                                                                 )   OPINION AND ORDER
                                                                    )
 LARRY WAYNE PRICE, JUNIOR,                                         )   By: James P. Jones
                                                                    )   United States District Judge
                                         Defendant.                 )

       Krista Consiglio, Assistant United States Attorney, Roanoke, Virginia, for
 Plaintiff; Thomas J. Bondurant, W. William Gust, and Jennifer S. DeGraw, Gentry
 Locke LLP, Roanoke, Virginia, for Defendant.

               The United States filed this civil case pursuant to 18 U.S.C. § 1345, seeking

 an injunction prohibiting the defendant, Larry Wayne Price, Jr., from alienating or

 disposing of his property derived from money laundering.1                          The United States

                                                             
               1
                    Section 1345 provides in pertinent part that

               If a person is alienating or disposing of property, or intends to alienate or
               dispose of property, obtained as a result of a banking law violation (as
               defined in section 3322(d) of this title) or a Federal health care offense or
               property which is traceable to such violation, the Attorney General may
               commence a civil action in any Federal court—

                     (A) to enjoin such alienation or disposition of property; or

                     (B) for a restraining order to—

                              (i) prohibit any person from withdrawing, transferring, removing,
                              dissipating, or disposing of any such property or property of
                              equivalent value; and

                                                                 
  
Case 1:18-cv-00027-JPJ-PMS Document 56 Filed 10/11/18 Page 1 of 10 Pageid#: 277
 sought a temporary restraining order (“TRO”), which was granted on June 11,

 2018, after notice to Price. The TRO restrained him from transferring or disposing

 of property obtained as a result of money laundering, or property of equivalent

 value of $17,725,000. The TRO has since been extended by agreement of the

 parties and is still in effect. At the request of the United States, I also appointed a

 temporary receiver (the “Receiver”) to administer the TRO and to establish Price’s

 assets and a monthly budget of his living expenses. Thereafter, Price filed a

 petition seeking to amend the TRO to allow the sale of untainted property, and to

 use the proceeds to pay his legal fees, not only in this case, but for his tax,

 corporate, and creditor issues, and for the defense of criminal prosecutions pending

 in this court and in the United States District Court for the District of Montana.

 Subsequently, and without objection by the United States, I approved the sale by

 consignment of certain itemized jewelry originally purchased by Price for

 $1,055,922. In addition, it is alleged that the sale of firearms and guitars owned by

 Price is contemplated.




                                                                                                                                                                                                 
                              (ii) appoint a temporary receiver to administer such restraining
                              order.

 18 U.S.C. § 1345(a)(2).

                                                                                             ‐2‐ 
  
Case 1:18-cv-00027-JPJ-PMS Document 56 Filed 10/11/18 Page 2 of 10 Pageid#: 278
       Price has now filed a Petition for Attorneys’ Fees in which greater detail is

 provided relating to the request for attorneys’ fees. He requests the court to

 approve payment from the sale of his untainted assets for the following:

       1) Legal fees, costs, travel, meals, lodging, and witness fees/costs for
       the criminal defense of Mr. Price in the United States District Court,
       WDVA, a flat fee of $75,000;

       2) Legal fees, costs, travel, meals, lodging, and witness fees/costs
       for the criminal defense of Mr. Price in the United States District
       Court, District of Montana, a flat fee of $275,000;

       3) Legal fees, costs, and expenses for local counsel for the criminal
       defense of Mr. Price in the United States District Court, District of
       Montana, a flat fee of $25,000; [and]

       4) Legal fees, costs, and expenses for representation in pending
       and anticipated civil matters, and for assistance with the sale of assets
       to be billed on an hourly basis at the following agreed rates: Gentry
       Locke partners at a rate of $375 per hour and associates at a
       rate of $300 per hour, and local counsel in Montana at a rate of $300
       per hour for partners and $250 per hour for associates.

 Pet. 2, ECF No. 50. Counsel for Price has since advised the court that the current

 unpaid amount of legal fees described in paragraph 4 above is $90,757.81, and that

 it is contemplated that further amounts of attorneys’ fees as incurred will be billed

 on a monthly basis for approval by the Receiver.

       The United States does not object to the release of untainted funds to pay

 reasonable attorneys’ fees in the Montana criminal case, since it believes that such

 payments are appropriate in a “parallel criminal case.”     United States’ Resp. 7,



                                          ‐3‐ 
  
Case 1:18-cv-00027-JPJ-PMS Document 56 Filed 10/11/18 Page 3 of 10 Pageid#: 279
 ECF No. 23.2 It objects to payment for the criminal case pending in this court and

 to any payments for other legal services to Price.

        In Luis v. United States, 136 S. Ct. 1083 (2016), an action brought by the

 United States under § 1345, the Supreme Court held that “the pretrial restraint of

 legitimate, untainted assets needed to retain counsel of choice violates the Sixth

 Amendment.” Id. at 1088. It is true that in Luis the request for counsel fees was

 for the defense of a criminal case charging the same conduct — health care fraud

 — as the grounds for the § 1345 action by the government. But there is nothing in

 the Supreme Court’s decision that limited its holding to parallel criminal

 prosecutions. While the prosecution pending in this court does not charge the

 money laundering offenses asserted in this § 1345 action, it nevertheless charges

 serious crimes — three separate instances of lying to agents of the FBI and IRS.

 Even if there is no direct connection between that prosecution and the grounds for

 the § 1345 action, I find that it is appropriate to permit the use of the defendant’s

                                                             
                2
                     In postponing the trial in Montana and extending the speedy trial time, the
 presiding judge stated that

        Price is accused of six counts of Wire Fraud in violation of 18 U.S.C.
        §1343. Further, Defendant is subject to forfeiture allegations. The counts
        carry a penalty of 20 years imprisonment, $250,000.00 fine, and three years
        of supervised release. Defense counsel asserts that additional time is
        required to review approximately 3 to 3.5 million pages of discovery and
        describes this as a complex paper case. Counsel is anticipating this case
        will take four weeks to try.

 Order, ECF No. 30, United States v. Price, No. 1:18-cr-00085 (D. Mont. Aug. 9, 2018).
                                               ‐4‐ 
  
Case 1:18-cv-00027-JPJ-PMS Document 56 Filed 10/11/18 Page 4 of 10 Pageid#: 280
 untainted funds to obtain legal counsel for the criminal case in this district, in

 protection of his Sixth Amendment rights.3

               The remaining issue is whether it is appropriate to allow payment of

 attorneys’ fees for services rendered in the present § 1345 case, including advice to

 Price regarding the sale or other disposition of his assets.           The United States

 argues that it is not appropriate, since there is no constitutional right to counsel in

 civil matters, and thus Luis does not apply.

               I disagree. While § 1345 is technically a civil matter, the defendant here

 shares the same position as a defendant in a criminal forfeiture case. See United

 States v. All Funds on Deposit, 767 F. Supp. 36, 42 (E.D.N.Y. 1991) (comparing

 civil in rem forfeiture proceeding to criminal forfeiture).              Indeed, criminal

 forfeiture is sought in the Montana case, which the United States concedes is a

 parallel proceeding. Moreover, as a practical matter, the defense of both the

 Montana case and this action by the same lawyers will be beneficial to all parties in




                                                             
               3
             The United States also argues that Price has provided it with a preliminary asset
 list totaling $35,146,000 in value, and that because the TRO only covers tainted assets, or
 property of an equivalent value of $17,725,000, Price likely should be able to finance his
 legal fees without amending the TRO. However, the TRO also expressly restrains what
 appears to be all of Price’s known bank accounts, TRO 2–3, ECF No. 4, making it likely
 impossible for Price to obtain cash to make such payments, even were he able to identify
 to the satisfaction of the United States his untainted assets above $17,725,000 in value.

                                                                ‐5‐ 
  
Case 1:18-cv-00027-JPJ-PMS Document 56 Filed 10/11/18 Page 5 of 10 Pageid#: 281
 coordinating possible resolution of the issues and by preserving the value of the

 defendant’s assets, for the benefit of any victims in the event he is convicted.4

               The United States does not dispute the reasonableness of the attorneys’ fees

 requested. I find them reasonable. Flat fees in criminal cases are routine, and the

 amounts sought are justified based on the apparent complexity of the cases. As to

 the hourly rates requested, they appear proper in light of my knowledge from other

 similar matters before this court.

               While I will thus approve the payment of the attorneys’ fees requested, I do

 so only from the proceeds of the sale of the jewelry previously authorized. I

 expressly do not approve any other sales of Price’s property or the use of the

 proceeds from any such sales for attorneys’ fees. Different considerations may

 apply to such future sales, which I do not have before me at the present.

               The United States has also objected to the amount of the proposed payment

 of living and business expenses for the defendant, as requested. I will refer that

 issue to the Receiver, in accord with my prior order of appointment. If a party

 objects to the Receiver’s determination, such objection may be presented to the

 court, if promptly filed. Similarly, the United States objects to the payment of real


                                                             
               4
             Counsel for two alleged victims of the wire fraud offenses charged in the
 Montana case, Ninety M, LLC, and Three Blind Mice LLC, have entered an appearance
 for those entities in this case and have objected to payment of the defendant’s legal fees.
 I note that no motion to intervene in this case has been filed for either entity and I express
 no opinion as to whether such motions would be granted.
                                                                ‐6‐ 
  
Case 1:18-cv-00027-JPJ-PMS Document 56 Filed 10/11/18 Page 6 of 10 Pageid#: 282
 estate mortgage and other loan installment payments by the defendant, while the

 defendant points out that otherwise, those assets will be lost to foreclosure. I will

 leave the approval of such payments to the Receiver. In lieu of such a payment,

 the Receiver or a party may propose to the court the sale of the asset.

       For the foregoing reasons, it is ORDERED as follows:

       1.     The Petition to Amend Temporary Restraining Order (“TRO”), ECF

 No. 20, and the Petition for Attorneys’ Fees, ECF No. 50, are GRANTED IN

 PART AND DENIED IN PART;

       2.     The payment of attorneys’ fees, costs, and expenses is APPROVED as

 follows:

              A. To Gentry Locke LLP, the sum of $75,000, as a flat amount to

 include all past, present, and future fees, costs and expenses, for the representation

 of the defendant Larry Wayne Price, Jr., in the criminal prosecution in the United

 States District Court for the Western District of Virginia, Case No. 1:18-cr-00015.

 It is understood that such payment does not include representation of the defendant

 in any appeal from final judgment in the case, or any collateral proceeding seeking

 to set aside any conviction or sentence;

              B. To Gentry Locke LLP, the sum of $275,000, as a flat amount to

 include all past, present, and future fees, costs and expenses, for the representation

 of the defendant Larry Wayne Price, Jr., in the criminal prosecution in the United


                                            ‐7‐ 
  
Case 1:18-cv-00027-JPJ-PMS Document 56 Filed 10/11/18 Page 7 of 10 Pageid#: 283
 States District Court for the District of Montana, Case No. 1:18-cr-00085. It is

 understood that such payment does not include representation of the defendant in

 any appeal from final judgment in the case, or any collateral proceeding seeking to

 set aside any conviction or sentence;

              C. To local counsel in Montana, the sum of $25,000, as a flat amount

 to include all past, present, and future fees, costs and expenses, for the

 representation of the defendant Larry Wayne Price, Jr., in the criminal prosecution

 in the United States District Court for the District of Montana, Case No. 1:18-cr-

 00085. It is understood that such payment does not include representation of the

 defendant in any appeal from final judgment in the case, or any collateral

 proceeding seeking to set aside any conviction or sentence;

              D. To Gentry Locke LLC, legal fees, costs, and expenses for ( 1 )

 representation of th e d ef end ant in this civil action under § 1345, (2)

 representation of the defendant in any other civil action necessary for the defense or

 resolution of this action, and (3) providing legal advice and assistance to the

 defendant as to the sale or other disposition of his assets. If necessary, local

 counsel in Montana may be retained for such representation, advice, or assistance.

 Legal fees are on an hourly basis at the following rates: Gentry Locke partners

 at a rate of $375 per hour and associates at a rate of $300 per hour, and local

 counsel in Montana at a rate of $300 per hour for partners and $250 per hour for


                                          ‐8‐ 
  
Case 1:18-cv-00027-JPJ-PMS Document 56 Filed 10/11/18 Page 8 of 10 Pageid#: 284
 associates. All such legal fees, costs, and expenses incurred must be billed on a

 monthly basis, with a copy to the defendant and to the Receiver. The billing must

 list each service performed and the time incurred for each such service, and an

 itemization of each cost and expense incurred, and the purpose thereof. The

 Receiver must approve each monthly billing before payment. The Receiver may

 refer any issue producing uncertainly in the mind of the Receiver as to the

 propriety of any amount requested to the court for resolution, but absent any such

 issue, court approval is not required for payment. The United States shall be

 provided by the Receiver with the total amount of each billing that has been

 approved, but not the billing itself or its details; and

              E. Gentry Locke LLC is now entitled to the payment of $90,757.81,

 representing prior legal fees, costs, and expenses incurred in accord with the

 purposes set forth in paragraph D above.

       3. The payment of the legal fees, costs, and expenses described herein must

 be solely from the proceeds of the sale of jewelry as described herein, unless

 permitted by future order of this court. Such proceeds shall be paid into the trust

 account of Gentry Locke LLC and disbursed by that firm as authorized by this

 Order, and as to monthly billings under paragraph D above as authorized by the

 approval of the Receiver or the court.




                                             ‐9‐ 
  
Case 1:18-cv-00027-JPJ-PMS Document 56 Filed 10/11/18 Page 9 of 10 Pageid#: 285
        The Clerk shall provide a copy of this Opinion and Order to the Receiver

  and to counsel for Ninety M, LLC, and Three Blind Mice LLC.


                                                 ENTER: October 11, 2018

                                                 /s/ James P. Jones
                                                 United States District Judge




                                         ‐10‐ 
   
Case 1:18-cv-00027-JPJ-PMS Document 56 Filed 10/11/18 Page 10 of 10 Pageid#: 286
